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                           UNITED STATES DISTRICT COURT
  9
            CENTRAL DISTRICT OF CALIFORNIA, EASTERN DIVISION
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      CLAUDE Z. CARR,                              Case No. 5:19-CV-01251-VBF(PD)
 12
                  Plaintiff,                       ORDER GRANTING
 13                                                STIPULATION TO DISMISS WITH
            v.                                     PREJUDICE
 14
      DEPUTY HOPPE, et al.,
 15
                  Defendants.
 16
 17
 18         GOOD CAUSE APPEARING AND THE PARTIES HAVING
 19 STIPULATED THERETO, IT IS ORDERED, ADJUDGED AND DECREED:
 20         1.    The Complaint, in its entirety and as to each and every claim for relief
 21 and any and all defendants, is dismissed with prejudice.
 22         2.    The settlement is further memorialized in a written settlement
 23 agreement.
 24         3.    The parties shall bear their own costs, expenses and attorneys’ fees
 25 arising out of and/or connected with this matter, including any such fees or expenses
 26 potentially recoverable under 42 U.S.C. Sec. 1988.
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                   ORDER GRANTING STIPULATION TO DISMISS WITH PREJUDICE
Case 5:19-cv-01251-VBF-PD Document 63 Filed 11/01/21 Page 2 of 2 Page ID #:316




  1        4.     This Order is the result of a compromise of disputed claims. It is not to
  2 be considered as an admission of liability and/or responsibility with regard to the
  3 incident, occurrence, casualty or events referenced in the pleadings herein.
  4        5.     The parties agree that the mediator shall retain jurisdiction for the
  5 purpose of enforcement of the terms of the settlement agreement between the
  6 parties.
  7        IT IS SO ORDERED, ADJUDGED AND DECREED.
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 10 DATED: November 1, 2021               By:
 11
                                                United States Magistrate Judge
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                   ORDER GRANTING STIPULATION TO DISMISS WITH PREJUDICE
